                                                                 Form 1
                                             Individual Estate Property Record and Report                                                         Page: 1-1

                                                              Asset Cases
Case No.:    19-46223 MAR                                                               Trustee Name:      (420180) K. Jin Lim
Case Name:        HAZEN TRANSPORT, INC.                                                 Date Filed (f) or Converted (c): 04/24/2019 (f)
                                                                                        § 341(a) Meeting Date:       07/03/2019
For Period Ending:         09/30/2020                                                   Claims Bar Date:      01/14/2020

                                         1                      2                      3                      4                   5                    6

                           Asset Description                 Petition/         Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)   Unscheduled        (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                              Values                 Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                             Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                        and Other Costs)

    1       cash on hand                                            390.00                   390.00                                   390.00                        FA

    2       Comerica checking                                       121.00                      0.00                                    0.00                        FA

    3       National Software escrow                                500.00                      0.00                                    0.00                        FA

    4       Butzel Long (u)                                         140.00                   140.00                               2,441.00                          FA
            P/O 04/20/20

    5       Canada Bridge Refund                                2,500.00                        0.00                                    0.00                        FA

    6       unamortized insurance Transguard                    2,036.00                        0.00                                    0.00                        FA
            Insurance Company

    7       unamortized insurance Burns & Wilcox                1,050.00                        0.00                                    0.00                        FA

    8       unamortized software fees Selective                     775.00                      0.00                                    0.00                        FA
            Software

    9       unamortized software fees                           7,758.00                        0.00                                    0.00                        FA

   10       ACCOUNTS RECEIVABLE                             1,177,251.00                        0.00                                    0.00                        FA

   11       office furniture                                  11,281.00                         0.00                                    0.00                        FA

   12       office fixtures                                           0.00                      0.00                                    0.00                        FA

   13       OFFICE EQUIPMENT                                    1,720.00                        0.00                                    0.00                        FA

   14       Hazen Transfer expenses                             5,028.00                        0.00                                    0.00                        FA

   15       Rick Palmer Sr expenses                             8,068.00                    8,068.00                                    0.00                8,068.00

   16       Possible preferences Blue Cross Blue                5,000.00                    5,000.00                              4,562.99                          FA
            Shield ap 20-4012 (u)
            p/o 02/24/20 in ap 20-4012

   17       Claim against FCA US LLC (u)                        5,000.00                    5,000.00                              5,000.00                          FA
            p/o 03/23/20

   18       Preferential transfer to UHY Advisors Adv           7,660.00                    7,660.00                              6,894.00                          FA
            Pro 20-4010 (u)
            p/o 04/24/20

   19       Claim against Sector 7, LLC AP 19-4011            24,200.00                    24,200.00                              4,500.00                          FA
            (u)
            p/o 08/17/20


  19        Assets Totals (Excluding unknown values)       $1,260,478.00                $50,458.00                             $23,787.99                  $8,068.00




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                                    Individual Estate Property Record and Report                                                  Page: 1-2

                                                     Asset Cases
Case No.:   19-46223 MAR                                                   Trustee Name:       (420180) K. Jin Lim
Case Name:     HAZEN TRANSPORT, INC.                                       Date Filed (f) or Converted (c): 04/24/2019 (f)
                                                                           § 341(a) Meeting Date:     07/03/2019
For Period Ending:     09/30/2020                                          Claims Bar Date:      01/14/2020


Major Activities Affecting Case Closing:

                            10/13/20 offer received for remnant assets; abandonment of records pending.
                            09/03/20 payment from Sector 7 received per order
                            07/16/20 turnover order entered for preference claim; payment from FCA received; in discussion with
                            remnant purchaser
                            04/09/20 working with Butzel Long on preference claim; settled with FCA and waiting for payment.
                            01/07/20 pursuing preferences to UHY, Sector 7 LLC, Blue Cross Blue Shield, and Butzel Long. Complaints
                            filed.
                            09/26/19 reviewing documents to investigate possible preferences.
                            08/27/19 investigate debtor's financial affairs.


Initial Projected Date Of Final Report (TFR): 12/31/2021           Current Projected Date Of Final Report (TFR):     12/31/2020


                     10/19/2020                                                /s/K. Jin Lim
                        Date                                                   K. Jin Lim




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                                                            Form 2
                                                                                                                                                    Page: 2-1
                                            Cash Receipts And Disbursements Record
Case No.:              19-46223 MAR                                    Trustee Name:                     K. Jin Lim (420180)
Case Name:             HAZEN TRANSPORT, INC.                           Bank Name:                        Metropolitan Commercial Bank
Taxpayer ID #:         **-***3963                                      Account #:                        ******1532 Checking
For Period Ending: 09/30/2020                                          Blanket Bond (per case limit): $2,000,000.00
                                                                       Separate Bond (if applicable): N/A

    1          2                      3                                        4                              5                       6                     7

  Trans.    Check or      Paid To / Received From          Description of Transaction        Uniform       Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                         Tran. Code       $                        $

 07/09/19     {1}      Sandra Oconnor Law PLLC          petty cash                           1129-000              390.00                                          390.00
                       IOLTA
 03/05/20     {16}     Blue Cross Blue Shield           settlement payment p/o 02/24/20      1241-000             4,562.99                                       4,952.99
 03/31/20              Metropolitan Commercial Bank     Bank and Technology Services         2600-000                                       5.00                 4,947.99
                                                        Fees
 04/27/20     {17}     FCA                              settlement payment p/o 03/23/20      1249-000             5,000.00                                       9,947.99
 04/30/20              Metropolitan Commercial Bank     Bank and Technology Services         2600-000                                       8.70                 9,939.29
                                                        Fees
 05/01/20     {18}     UHY Advisors                     settlement payment p/o 04/24/20      1241-000             6,894.00                                      16,833.29
 05/04/20     {4}      Butzel Long                      settlement payment p/o 04/20/20      1241-000             2,441.00                                      19,274.29
 05/29/20              Metropolitan Commercial Bank     Bank and Technology Services         2600-000                                      28.89                19,245.40
                                                        Fees
 06/30/20              Metropolitan Commercial Bank     Bank and Technology Services         2600-000                                      32.80                19,212.60
                                                        Fees
 07/31/20              Metropolitan Commercial Bank     Bank and Technology Services         2600-000                                      31.73                19,180.87
                                                        Fees
 08/31/20              Metropolitan Commercial Bank     Bank and Technology Services         2600-000                                      29.63                19,151.24
                                                        Fees
 09/03/20     {19}     Sector 7 LLC                     settlement payment p/o 08/17/20      1241-000             4,500.00                                      23,651.24
 09/30/20              Metropolitan Commercial Bank     Bank and Technology Services         2600-000                                      39.12                23,612.12
                                                        Fees

                                          COLUMN TOTALS                                                       23,787.99                    175.87               $23,612.12
                                                 Less: Bank Transfers/CDs                                             0.00                   0.00
                                          Subtotal                                                            23,787.99                    175.87
                                                 Less: Payments to Debtors                                                                   0.00

                                          NET Receipts / Disbursements                                       $23,787.99                   $175.87




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{ } Asset Reference(s)                                                                                                       ! - transaction has not been cleared
                                                       Form 2
                                                                                                                              Page: 2-2
                                       Cash Receipts And Disbursements Record
Case No.:           19-46223 MAR                             Trustee Name:                     K. Jin Lim (420180)
Case Name:          HAZEN TRANSPORT, INC.                    Bank Name:                        Metropolitan Commercial Bank
Taxpayer ID #:      **-***3963                               Account #:                        ******1532 Checking
For Period Ending: 09/30/2020                                Blanket Bond (per case limit): $2,000,000.00
                                                             Separate Bond (if applicable): N/A




                                                                                                NET                      ACCOUNT
                                 TOTAL - ALL ACCOUNTS                     NET DEPOSITS     DISBURSEMENTS                 BALANCES
                                 ******1532 Checking                            $23,787.99          $175.87                  $23,612.12

                                                                                  $23,787.99                 $175.87          $23,612.12




                 10/19/2020                                          /s/K. Jin Lim
                   Date                                              K. Jin Lim




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